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CGFD30 (10/01/16)




ORDERED in the Southern District of Florida on September 29, 2023




                                                                                                Laurel M Isicoff
                                                                                                Chief United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                     Southern District of Florida
                                                       www.flsb.uscourts.gov
                                                                                                                 Case Number: 20−17980−LMI
                                                                                                                 Chapter: 11

In re: Debtor(s) name(s) and address(es) (for names include married, maiden and trade used by the debtor(s) in the last 8 years)
 Sugar Factory Lincoln Road, LLC
 507 Espanola Way
 Miami Beach, FL 33139

EIN: 47−1692015




                                                             FINAL DECREE



A Final Report and Motion for Entry of Final Decree having been filed on behalf of the debtor, this chapter
11 case is closed. If applicable, all future payments under the plan of reorganization shall be disbursed in
accordance with the plan.




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The clerk shall serve a copy of this Final Decree on the Debtor, Attorney for Debtor, and the U.S. Trustee
